                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


 KELLY M. BRENEISEN and DANIEL
 BRENEISEN, individually, and on behalf of
 all others similarly situated,
                                                       Case No.: 2:21-cv-00412-LA
         Plaintiffs,

 v.
                                                       Honorable Judge Lynn Adelman
 COUNTRYSIDE
 CHEVROLET/BUICK/GMC, INC.,

         Defendant.


                                   JOINT RULE 26(f) REPORT

         The counsel identified below participated in a meeting required by the Federal Rules of

Civil Procedure 26(f) via telephone/email and jointly prepared the following report. The Rule 16

telephonic scheduling conference for this matter is scheduled to occur on February 23, 2022 at

10:00 a.m. CST before the Honorable Chief Judge Lynn Adelman. Mohammed O. Badwan will

appear telephonically for Plaintiff. Jamie Lane will appear telephonically for Defendant.

      1. Nature of the Case: Plaintiffs bring this class action seeking redress for violations of the

         Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq. Specifically, Plaintiffs

         alleged that Defendant violated 15 U.S.C. §1681b(f) by obtaining Plaintiffs’ Experian and

         Trans Union credit reports without Plaintiffs’ authorization and without a permissible

         purpose enumerated in the FCRA. Plaintiffs seek to represent the following putative class.

           All persons within the United States (1) who have had their consumer credit
           report(s) obtained by Defendant; (2) within the five (5) years preceding the date
           of the original complaint through the date of class certification; (3) from
           Equifax, Experian, and/or Trans Union; and (4) in which Defendant did not have
           a permissible purpose enumerated in the Fair Credit Reporting Act to access

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     such person’s consumer credit report(s), including any persons who purchased
     or intended to purchase a car from Defendant without financing.

2. Possibility of Settlement: Defendant has not expressed any interest in settling this case.

   Plaintiffs will make a class-wide demand upon request.

3. Motions: There are currently no pending motions before the Court. The Court denied

   Defendant’s Motion to Dismiss on December 1, 2021 [Dkt. 16].

4. Amendment to the Pleadings and Joining Parties: The parties propose a deadline of

   July 30, 2022 to bring any motion to amend the pleadings or join additional parties.

5. Initial Disclosures: The parties agree to exchange Initial Disclosures on or before March

   9, 2022.

6. Length of Trial: If a class is certified, the parties anticipate that a trial would take 4

   days. If a class is not certified, the parties anticipate a trial to take 2 days.

7. Electronically stored information: The parties have agreed to produce ESI in .pdf

   format.

8. Confidentiality: Defendant will be seeking a protective order.

9. Orders: The parties do not contemplate any additional orders at this time aside from the

   Scheduling Order.

10. Discovery Plan: The parties anticipate that all discovery can be completed by November

   30, 2022.

       a. Subjects on which discovery may be needed: Discovery will focus on (1) the reason

             Defendant accessed Plaintiffs’ credit reports, (2) whether such reason/purpose is

             prohibited by the FCRA; (3) number of similarly situated individuals as defined

             above; and (4) the identities of such individuals.

       b. The parties anticipate that discovery may include interrogatories, requests for

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           production of documents, requests for admission, third-party subpoenas, party

           depositions, lay witness depositions, third-party depositions.

       c. The parties agree that the timing, extent, and limitations on discovery shall be

           those set forth in the Federal Rules of Civil Procedure and the Court’s local rules.

       d. Expert Discovery: The parties do not anticipate that expert discovery will be

           needed.

11. Dispositive Motions: On or before January 31, 2023, the parties may file dispositive

   motions. The time for filing response and reply briefs will be pursuant to local rules.

12. Expert Disclosure Deadlines:

       a. August 31, 2022: Plaintiff to disclose retained experts and opinions.

       b. September 30, 2022: Plaintiff’s retained experts to be produced for deposition.

       c. October 31, 2022: Defendant to disclose retained experts and opinions.

       d. November 30, 2022: Defendants retained experts to be produced for deposition.

Dated: February 8, 2022

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                                 Counsel for Defendant




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